Case 1:11-cv-02173-JBW-CLP Document 52 Filed 03/06/14 Page 1 of 1 PageID #: 1763


Attention Judge Jack B. Weinstein:
Tomici v. City of New York
      Defendant:                                                                     &.;; ~ L1.:1·· '
                         City of New York                                        'N            - ,.;.
       Plaintiff:        Loredana Tomici                                                      0
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    Case Number:
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                        1:2011cv02173
        Filed:          May 4, 2011                                       BROOKLYN OFFICE


       Court:           New York Eastern District Court
       Office:          Brooklyn Office
  Referring Judge:      Cheryl L. Pollak
  Presiding Judge:      Jack B. Weinstein

  Nature of Suit:  Civil Rights: Other
  Cause of Action: 28:1331 Fed. Question
Jury Demanded By: Plaintiff


My name is Loredana Tomici and I am the plaintiff in the case listed above. It has come to my attention that a
certain document, document 48 to be exact, is publicly available and easily accessible online to anyone that
knows my first and last name. These pages contain private, personal information about me, my health and my
employment history with the New York City Department of Education. I am inquiring about the procedures
needed to either reissue the opinion, remove or redact information I wish to conceal or have all the documents
completely sealed. I respectfully request the courts assistance in this important and urgent matter. Thank you
for your time and consideration.




Respectfully yours,

Ms. Loredana Tomici
